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 9                            UNITED STATES DISTRICT COURT
10                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
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      MEGHAN DOWNING, individually and              Case No.: 2:21-cv-05919-FMO-GJS
13    on behalf of all others similarly situated,
14                                                  [PROPOSED] ORDER GRANTING
                                                    xxxxxxxxxxxxxxx
                             Plaintiff,             STIPULATED REQUEST FOR
15                                                  DISMISSAL PURSUANT TO FEDERAL
            v.                                      RULE OF CIVIL PROCEDURE 41(a)
16
      A.C. VROMAN, INC., a California        [28]
17
      corporation; VROMAN’S ATRIUM, INC.,
18    a California corporation; VROMAN’S
      PLAZA, INC., a California corporation;
19
      and DOES 1 to 10, inclusive,
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                            Defendants.
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                                          xxxxxxxxxxxxx
                                          [PROPOSED] ORDER
     Case 2:21-cv-05919-FMO-GJS Document 29 Filed 10/13/21 Page 2 of 2 Page ID #:83



 1          IT IS HEARBY ORDERED THAT, the parties Stipulated Request For Dismissal
 2    Pursuant to Federal Rule of Civil Procedure 41(a) is Granted and DISMISSES this action
 3    with prejudice.
 4
 5          IT IS SO ORDERED.
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 7                                               /s/ FERNANDO M. OLGUIN
 8    DATED: 10/13/2021                   By: ________________________________
                                               United States District Court Judge
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                                     [PROPOSED] ORDER
